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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 RUBY FREEMAN, et al.,

                        Plaintiffs,                Case No. 1:21-cv-03354 (BAH)

                v.                                 Judge Beryl A. Howell

 RUDOLPH W. GIULIANI,

                        Defendant.




   DECLARATION OF MICHAEL J. GOTTLIEB IN SUPPORT OF PLAINTIFFS’
  SUBMISSION DETAILING THE COSTS AND FEES INCURRED IN PREPARING
            THE MOTION TO COMPEL DEFENDANT GIULIANI
                 AND THE RELATED MAY 19 HEARING


I, Michael J. Gottlieb, pursuant to 28 U.S.C. § 1746 hereby declare as follows:

     1.        I am over 18 years of age, of sound mind, and otherwise competent to make this

Declaration. The evidence set out in the following Declaration is based on my personal

knowledge.

     2.        I represent Plaintiffs Ruby Freeman and Wandrea’ ArShaye Moss in the above-

captioned case, and submit this Declaration in support of the Plaintiffs’ Submission Detailing the

Costs and Fees Incurred in Preparing the Motion to Compel Defendant Giuliani and the Related

May 19 Hearing.

     3.        I am a Partner in Willkie Farr & Gallagher LLP’s (“Willkie”) Washington D.C.

office. I serve on the firm’s Executive Committee, and serve as Co-Chair of Willkie Farr &

Gallagher LLP’s Media & First Amendment Practice Group, as well as the Strategic Motions and

Appeals Practice Group. As part of my practice and administrative responsibilities at the firm, I
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have gained familiarity with the market rates charged by law firms comparable to Willkie in terms

of size, experience, and reputation.

     4.        Willkie Farr & Gallagher LLP is an international law firm founded in 1888, with

more than 1,300 attorneys spread across thirteen offices in six countries. Willkie Farr &

Gallagher LLP’s litigation practice is recognized as a leader in the United States litigation market,

and is ranked Band 1 by Chambers and Partners in both General Commercial Litigation and

White-Collar Crime & Government Investigations Litigation. See Willkie Farr & Gallagher LLP

Law Firm Profile, CHAMBERS         AND   PARTNERS, https://chambers.com/law-firm/willkie-farr-

gallagher-llp-usa-5:3674. Willkie also has a long history of giving back to the community by

serving as pro bono counsel for indigent clients, including prior litigation in this District

involving defamation claims. In particular, Willkie Farr & Gallagher has consistently been

recognized by the D.C. Circuit in its annual 40 at 50: Judicial Pro Bono Recognition Event, which

recognizes law firms where at least 40% of the firm’s D.C. lawyers perform at least 50 hours of

pro bono work a year.        See Willkie Farr & Gallagher LLP Pro Bono, What We Do,

https://www.willkie.com/social-commitment/pro-bono/our-commitment.

     5.        Meryl C. Governski is a Partner in Willkie Farr & Gallagher LLP’s Washington

D.C. office and represents Plaintiffs Ruby Freeman and Wandrea’ ArShaye Moss in the above-

captioned case. She received her law degree from Georgetown University Law Center and a

bachelor’s degree from Cornell University.         Meryl C. Governski practices complex civil

litigation, including high-risk commercial class action litigation, intellectual property and

contract litigation, and election litigation. She has represented clients in previous successful

defamation matters litigated in federal court.




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      6.         M. Annie Houghton-Larsen is a fifth year associate in Willkie Farr & Gallagher

LLP’s New York City office and represents Plaintiffs Ruby Freeman and Wandrea’ ArShaye

Moss in the above-captioned case. She received her law degree from Georgetown University

Law Center and a bachelor's degree from Washington University in St. Louis. Annie Houghton-

Larsen practices complex civil litigation, including mergers and acquisition litigation, security

class actions, government investigations and enforcement actions, and civil rights impact

litigation.

      7.         Timothy P. Ryan is a fourth-year associate in Willkie Farr & Gallagher LLP’s

Washington D.C. office and represents Plaintiffs Ruby Freeman and Wandrea ArShaye Moss in

the above-captioned case. He received his law degree from The George Washington University

Law School and a bachelor’s degree from James Madison University. Tim Ryan practices

complex civil litigation, including at the trial and appellate level, bankruptcy litigation,

government investigations, and enforcement actions.

      8.         John Langford is counsel at Protect Democracy and represents Plaintiffs Ruby

Freeman and Wandrea’ ArShaye Moss in the above-captioned case. He received his law degree

from Yale Law School and a bachelor's degree from Oberlin College & Conservatory. His

primary practice areas are First Amendment, defamation, and media litigation, and he practices

complex civil litigation, including class-action litigation.

      9.         Counsel for Plaintiffs, including the attorneys listed above, have followed the

same timekeeping and billing practices in this case as is customarily followed in other legal

matters.      Work performed for Plaintiffs Ruby Freeman and Wandrea’ ArShaye Moss is

contemporaneously recorded with brief narratives describing the work performed and the time

spent on each activity to the tenth of an hour. These time entry records are maintained in the




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ordinary course of business by the accounting departments of Willkie Farr & Gallagher LLP’s

and Protect Democracy.

     10.       Pursuant to the Court’s Standing Order 5b, attached as Exhibit A to this

Declaration are time entry records for work performed between March 7, 2023 and June 14, 2023

for which Plaintiffs claim fees. I have reviewed these time entry records and believe they

accurately reflect the time reasonably and necessarily expended in relation to Plaintiffs’ Motion

to Compel Defendant Giuliani (ECF No. 44), Reply in Support of Plaintiffs’ Motion to Compel

Defendant Giuliani (ECF No. 56), the May 19, 2023 Discovery Hearing, and Plaintiffs’

Combined Opposition to Defendant Giuliani’s Motion for Reconsideration and Response to

Defendant’s Declaration (ECF No. 64).

     11.       Part I of Exhibit A lists only the relevant subset of work performed by counsel for

Plaintiffs between March 7, 2023 and June 14, 2023 for which Plaintiffs seek fees. This time

expended was necessary to conduct adequate legal research and to draft well-reasoned argument

to appraise the Court of the discovery dispute and to respond to arguments raised by Defendants

Giuliani. Part I of Exhibit A does not list all tasks performed or time expended in connection

with the granting of the Motion to Compel Defendant Giuliani. It does not list all attorneys or

staff at Willkie Farr & Gallagher LLP and Protect Democracy who performed work in connection

with the granting of the Motion to Compel Defendant Giuliani. And it does not list all the time

expended by Meryl C. Governski, Annie Houghton-Larsen, Timothy P. Ryan, and John Langford

in connection with the Motion, the Reply, the May 19 Hearing, and the June 14 Opposition.

Instead, Plaintiffs seek fees for only a subset of timekeepers and hours associated with the

Motion, the Reply, the May 19 Hearing, and the June 14 Opposition.




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     12.       Work associated with the Motion to Compel occurred in two phases. First,

Plaintiffs began researching and drafting the Motion in early March 2023 in order to have a basis

to seek the initial telephonic Court conference on March 21, 2023. Plaintiffs then continued to

revise and finalize the Motion following the Court’s April 11, 2023 Minute Order setting a

briefing schedule for the Motion to Compel.

     13.       In total, counsel for Plaintiffs expended more than 300 hours of time in connection

with the granting of the Motion to Compel Defendant Giuliani over a period of four months, but

submit only 147.5 hours for payment.

     14.       Part II of Exhibit A lists the reasonable hourly rates that Plaintiffs submit for the

work performed and the time expended in connection with the granting of the Motion to Compel

Defendant Giuliani.

     15.       Part II.A of Exhibit A lists the customary hourly rates that Willkie Farr &

Gallagher LLP charges clients for work on other matters. The listed hourly rates equate to the

prevailing market rates for legal services provided by law firms of similar stature as Willkie Farr

& Gallagher LLP. The customary hourly rates of Meryl C. Governski, Annie Houghton-Larsen,

and Timothy P. Ryan are listed in Part II.A of Exhibit A.

     16.       Part II.B of Exhibit A lists the hourly rates of Meryl C. Governski, Annie-

Houghton Larsen, Timothy P. Ryan, and John Langford as calculated under the LSI-Adjusted

Laffey Matrix for legal services performed between June 1, 2022 and May 31, 2023. See Laffey

Matrix, http://www.laffeymatrix.com/see.html.

     17.       Meryl C. Governski graduated law school in 2014 and has been out of law school

for more than 8 years but fewer than 10 years for purposes of applying the LSI-Adjusted Laffey

Matrix. See Laffey Matrix, http://www.laffeymatrix.com/see.html.




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     18.       Annie-Houghton Larsen graduated law school in 2018 and has been out of law

school for more than 4 years but fewer than 7 years for purposes of applying the LSI-Adjusted

Laffey Matrix. See Laffey Matrix, http://www.laffeymatrix.com/see.html.

     19.       Timothy P. Ryan graduated law school in 2019 and has been out of law school for

more than 4 years but fewer than 7 years for purposes of applying the LSI-Adjusted Laffey Matrix.

See Laffey Matrix, http://www.laffeymatrix.com/see.html.

     20.       John Langford graduated law school in 2014 and has been out of law school for

more than 8 years but fewer than 10 years for purposes of applying the LSI-Adjusted Laffey

Matrix. See Laffey Matrix, http://www.laffeymatrix.com/see.html.

     21.       Part III of Exhibit A lists the total amount of attorneys’ fees claimed by Plaintiffs

in connection with the granting of the Motion to Compel Defendant Giuliani. Part III.A includes

a table listing the total amount of attorneys’ fees claimed based on the customary hourly rates

charged by Willkie Farr & Gallagher LLP and for John Langford, based on the LSI-Adjusted

Laffey Matrix. Part III.B includes a table listing the total amount of attorneys’ fees claimed based

on the LSI-Adjusted Laffey Matrix.

     22.       I declare under penalty of perjury that the foregoing is true and correct.



Executed on July 5, 2023.

                                                       /s/ Michael J. Gottlieb
                                                       WILLKIE FARR & GALLAGHER LLP
                                                       MICHAEL J. GOTTLIEB
                                                       1875 K Street, #100
                                                       Washington, DC 20006
                                                       Tel: (202) 303-1000
                                                       Fax: (202) 303-2000
                                                       mgottlieb@willkie.com

                                                       Attorney for Plaintiffs Ruby Freeman and
                                                       Wandrea’ Moss


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